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1. ClR./olsr.mlv. CoDE
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z. FERS()N REPRESF.NTEI)
Rhea, Martin

 

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3. MAG. DI(T.!DEF. NUMBER

4. DlsT. DKT./DEF. NUMBER
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LAURENZI, EUGENE
50 N. Front Street
Suite 800

MEMPHIS TN 38103

Telepl\one Nurnher:

 

14. NAME AND MAILlNG ADDRESS OF LAW FlRM {oniy provide per instructions) or
Allen, Godwin, Morris, haurcnzi P.C.
One Memphis Place
200 Jefferson Avenue
Suite 400
Mcmphis TN 38103

 

m F Sccbs Fur Federall)e[ender
ij P SubsFor PanolAttorney

Prior Atlorney‘s Name:

m R Suhs For Retaioed Attorney
D Y Standh_vCounse|

 

Appointment Date:

€/97/9 s

Dale ofOrder

Repayment or pamMpament ordered from the person
time of appuintment.

[]YES U NO

m Becausethe above-named person represented has testified under oath or has

otherwise satisfied this court that he or she {l) is financially unable to employ cmnsel and

(2) does not wish to waive cnunsel, and because the interests ofjus' n so require, the

attorney whose name appears in ltem 12 is aIninted to represe
1

m Other(Seelnstructio s) sp \

Signature of residing .l dicial Ol`-li;r ar By Order ofthe Court

this person in this case,

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Nunc Pro Tune Dste
represented for this s ervice at

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7. ]N CASE;"M¢\TTER OF (Ca§e Name) 8. PAYMENT CATF.GORY 9. TYPE PERSON REPRESENTED 1[]. REP RESENTAT]{;]\(%Y.FFQ '
(See ln_structions} ‘ pfij
U.S. v. Rhea Felony Adult Defcndant Crlmtn§_li£ase ly 0
ll- OFFENSE(S) CH ARGED [Clle U.S. Ct]dl:, Title & Seet'ion] ll'rnnre than one ofl‘ense, list {up tn live) major offenses charged, according to severity ol'of'l'_§d;_£`g»"/:;;'/\;" l ?J /\\` 5
l} 13 472.1: -» PASSES COUNTERFEIT OBLIGATIONS OR SECURITIES V"D {_},é~ £J.S `i"l Y;`} }!
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rm s£?/S]` atfij
12. AT_TORNEY'S NAME [First Namu, M.I., Last Narne, including any suf`lil) 13. COURT ORDER r'tf~"t/;T~` ;-'7'“
.Al\'D MAILINC ADDRESS 0 Appointing Counsel l:l C Co~Cnunsel l f 3

 

 

  

 
    

     

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   
 

 

 

   
 

  
 

 

 

 

 

 

 

 

 

 

 

 

 

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CLAlMED HOURS AMOUNT “

15. a. Arraigoment and/or P|ca

b. Bai| and Detention Hearings

c. Motion Hearings
1 d. Trial
C c. Sentencing Hearings
: f. Revocation He.arings
tr g. Appeals Court

ll. Other (Speclfy on additional sheets)

(Rate per hour = 5 ) TOTA.LS:
16. a. Interviews and Conferences
itt) b. Obtaining and reviewing records
n c. l.ega| research and brief writing
; d. Travel time
§ e. lnvestigative and Other work (sp¢ciry on additional sheers)
: (Rate per hour = $ } TOTALS:
l’T. Travel Expenses (lodging, parking, mea|s, mileage, etc.)
lS. Othel‘ EchnScS (0ther than expert, transcripts, etc.)
19. CERT|FICA'I]ON OF ATTORNEY[PAYEE FOR THE PERIOD 0 F SERVICE 20. APPO]NTMEN'I` ‘l`ERMlN.»\TlON DATE 21. CASE DISPO SlTlON
FROM ,m lF OTHER THAN CAsl-: COMP|.ET\ON
21. CLAIM STATUS i:l Final Payment E] interim Payment Number ___ ij Supplemental Paymenl
Have you previously applied to the court fcc compensation and!or relnimbursement for this case? l:l YES m NO |l'yes, were you paid'.’ l:l YES l:l NO

Dthe.r than from the court, have you. orta your knowledge has anyone else` received payment (eompensalion or anything or value) from atty other source in connection with this

representation'.'

ij YES |:l NO

lf yes‘ give details on additional sheets.

l swear or affirm the truth or correctness ofthe above statementsl

Signilul‘e ol`Attorney:

 

 

 

 
  

  
 

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23.

[N COURT CO.'VIF.

24. OUT OF COURT COMP.

25. TRAVEL EXPENSES

26. OTHER EXPENSES

ZT. TOTAL AMT. APPR .‘ CERT

 

 

28. SIGNATURE OF THE PRE,S|D|NG JUDICIAL OFFICER

DATE

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29.

lN COURT COM!’.

 

30, OIJ`T OF COURT COM P. 3!.

 

TRAVEL EXPENSES

31. OTHER EXPENSES

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34. SIGNATURE OF CHlEF .IUDGE, COURT 0
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With Rule 35 ami/or 32(!3) FHCrP nn “

 

 

Notice of Distribution

This notice confirms a copy ofthc document docketed as number 50 in
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Eugene A. Laurenzi

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Honorable J on McCalla
US DISTRICT COURT

